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                                  UNITED STATES DISTRICT COURT
5                                WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
6
7     UNITED STATES OF AMERICA,

8                   Plaintiff,                              Case No. CR05-334L

9            v.                                             ORDER GRANTING
                                                            MOTION FOR INSPECTION
10    RAJINDER JOHAL, et al.,

11                  Defendants.

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            This matter comes before the Court on “Defendant Maninder Singh Khatkar’s Motion for
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     Inspection of Personnel Files of Law Enforcement Officers and Memorandum in Support
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     Thereof” (Dkt. # 59). Upon review of the briefs, this motion is HEREBY GRANTED subject to
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     the following qualifications detailed in the government’s brief: (1) the government will initially
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     request a review of the files of the top ten primary federal agent witnesses, including the three
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     lead federal agents and key federal surveillance witnesses, (2) if defense counsel wishes a
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     specific agent’s file reviewed, he is asked to provide that agent’s name to the government, (3)
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     the government will either provide reportable material to the defense, or notify counsel that it
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     has been submitted to the Court for review not later than one week prior to trial, and (4) the
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     government will not review files of state, local, or foreign law enforcement officers.
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23          DATED this 15th day of March, 2006.

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25                                                     A
                                                       Robert S. Lasnik
26                                                     United States District Judge

      ORDER GRANTING
      MOTION FOR INSPECTION
